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                                                                      July 8, 2024



                   VIA ECF

                   Hon. Jennifer L. Rochon
                   United States District Judge
                   Southern District of New York
                   500 Pearl Street, Room 1920
                   New York, NY 10007

                                  RE:    Gao v. L&L Supplies, Inc., et al., No. 1:22-cv-3722 (JLR) (GWG)
                                         Request for Adjournment of Trial and Related Deadlines

                   Dear Judge Rochon:

                           We are pro bono counsel to defendant Youpeng Li, and write pursuant to
                   Rule 1(F) of Your Honor’s Individual Rules of Practice in Civil Cases to respectfully
                   request an adjournment of the bench trial currently scheduled to commence on July
                   18, 2024, at 10:00 a.m., as well as a commensurate adjournment of the associated
                   pre- and post-trial deadlines. (See ECF Nos. 72.) This is Mr. Li’s first request for an
                   adjournment of the trial date. We have conferred with pro se defendant Susan Liang
                   and counsel for plaintiff Hua Jing Gao, both of whom consent to this request. All
                   parties are available for trial in the month of September at a date that is convenient
                   for the Court.

                           As the Court is aware, despite diligent effort, we did not finalize our
                   engagement to represent Mr. Li at trial until June 26, 2024—more than three weeks
                   after the Court set the current trial date. (See ECF Nos. 72, 76-77.) We have since
                   been diligently working to get up to speed on the case amidst a number of conflicts
                   in other matters and competing deadlines. Our preparation is also inherently slowed
                   due to the language and logistical issues of coordinating with Mr. Li. Accordingly,
                   we no longer believe that trial next week is feasible.

                          We do not make this request lightly. We appreciate the Court’s heavy
                   docket, the inconvenience of rescheduling a matter as important as trial, and the need
                   to move this case swiftly to resolution. However, we believe that a short extension is
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The request to adjourn the trial is GRANTED. The trial will now commence on October
17, 2024, at 10:00 a.m. The parties must submit any motions in limine by September 13,
2024, at 5:00 p.m. The parties must submit any responses to motions in limine by
September 20, 2024, at 5:00 p.m. The parties are advised to be judicious in filing motions
in limine given that this is a bench trial. The parties must submit proposed findings of fact
and conclusions on law by November 6, 2024, at 5:00 p.m.

Dated: July 8, 2024                SO ORDERED.
       New York, New York
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                                   JENNIFER L. ROCHON
                                   United States District Judge
